                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: John Thomas Lacik                       )          Case No.: 17-81630-CRJ-11
        SSN: xxx−xx−9376                        )
                                                )
        Lisa Elaine Lacik                       )
        SSN: xxx−xx−1278                        )
                                                )
                Debtors.                        )          CHAPTER 11


                 ORDER APPROVING EMPLOYMENT OF CHAPTER 11
                    ATTORNEYS FOR DEBTORS-IN-POSSESSION

         This matter came before the Court upon the Application by Debtors-in-Possession to
 Employ Sparkman, Shepard & Morris, P.C. as Chapter 11 Attorneys (Doc. 15). After proper
 notice, a hearing was held on June 21, 2017 with appearances by Kevin M. Morris on behalf of
 the Debtors-in-possession and Richard M. Blythe on behalf of the Bankruptcy Administrator.

        The Bankruptcy Administrator has filed a recommendation for approval of the employment
 of Sparkman, Shepard & Morris, P.C. as Chapter 11 Attorneys. Upon consideration of the pleading
 and the recommendation of the Bankruptcy Administrator, by the Court it is

         ORDERED, ADJUDGED and DECREED that the Application by Debtors-in-
 Possession to Employ Chapter 11 Attorneys (Doc. 15) is APPROVED and the Debtors-in-
 possession are AUTHORIZED to employ the law firm of Sparkman, Shepard & Morris, P.C. to
 serve as their counsel in this matter.

 Dated this the 22nd day of June, 2017.

                                                    /s/ Clifton R. Jessup, Jr.
                                                    Clifton R. Jessup, Jr.
                                                    United States Bankruptcy Judge




Case 17-81630-CRJ11        Doc 35    Filed 06/22/17 Entered 06/22/17 15:15:50         Desc Main
                                    Document     Page 1 of 1
